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BY DISTRICT OF MARYLAND

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

DEPUTY

 

   

-CBD

UNITED STATES OF AMERICA
*
v. *  CASENO. _ AO™ my7 !AA-CSBO
*
BRIAN MARK LEMLEY, JR., * FILED UNDER SEAL ;
PATRIK JORDAN MATHEWS, and AO- My y7 !V3B-CBD
WILLIAM GARFIELD BILBROUGH = *
IV, * XO- MY~ Lan
*
Defendants 7
*
KkKKKKKK

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINTS AND ARREST WARRANTS

Your affiant, Rachid T. Harrison, Special Agent with the Federal Bureau of Investigation,
being duly sworn, deposes and states as follows:

Introduction and Background

1. Iam a Special Agent with the Federal Bureau of Investigation (“FBI”). I have been
a Special Agent with the FBI for approximately three years, prior to which I spent approximately
two years as a Special Agent of the Drug Enforcement Administration (“DEA”). During my tenure
with the FBI and DEA, I have investigated and participated in the investigations of numerous drug
trafficking and international and domestic terrorism violations and, among other things, have
conducted or participated in surveillances, debriefings of informants and reviews of taped
conversations and records, and the execution of search and tracking warrants. From these
experiences, and from training relating to counterterrorism matters, I have become familiar with
the ways in which persons finance and plan terrorist operations, including but not limited to the
efforts persons involved in such activity take to disguise operations and avoid detection by law

enforcement.
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2. I submit this Affidavit in support of criminal complaints and arrest warrants. Based
on the facts in this affidavit, I respectfully submit that there is probable cause to believe that
BRIAN MARK LEMLEY, JR. (“LEMLEY”) has committed violations of 8 U.S.C.
§ 1324(a)(1)(A)(ii), (iii), and (v)(I) (transporting and harboring certain aliens, and conspiracy to
do so); 18 U.S.C. § 922(a)(4) (transporting machine gun in interstate commerce); 18 U.S.C.
§ 922(d)(5) (disposing of any firearm and ammunition to an alien illegally or unlawfully in the
United States); 18 U.S.C. § 924(b) (transporting firearm and ammunition in interstate commerce
with intent to commit therewith an offense punishable by a term exceeding one year); and
18 U.S.C. § 2 (aiding-and-abetting).

Dis I also respectfully submit that there is probable cause to believe that PATRIK
JORDAN MATHEWS (“MATHEWS”) has committed violations of 18 U.S.C. § 922(g)(5)
(alien in possession of firearm and ammunition); 18 U.S.C. § 924(b) (transporting firearm and
ammunition in interstate commerce with intent to commit therewith an offense punishable by a
term exceeding one year); and 18 U.S.C. § 2 (aiding-and-abetting).

4, I also respectfully submit that there is probable cause to believe that WILLIAM
GARFIELD BILBROUGH IV (“BILBROUGH”) has committed violations of 8 U.S.C.
§ 1324(a)(1)(A)(ii), (iii), and (v)(I) (transporting and harboring certain aliens, and conspiracy to
do so), and 18 U.S.C. § 2 (aiding-and-abetting).

5. This Affidavit is based upon my participation in the investigation, my examination
of reports and records, and my conversations with other law enforcement agents and other
individuals. Because this Affidavit is being submitted for the limited purpose of obtaining criminal
complaints and arrest warrants, it does not include all the facts that I have learned during the course

of this investigation. Where the contents of documents and the actions, statements, and
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conversations of others are reported herein, they are reported in substance and in part, except where
otherwise indicated. In making this application, I am relying only on the facts stated herein.

6. Information in this Affidavit resulting from surveillance does not always set forth
my personal observations, but rather at times reflects information from video surveillance, as well
as information provided to me by other law enforcement agents who observed the events described
and to whom I have spoken or whose reports I have read.

Information Regarding LEMLEY, MATHEWS, and BILBROUGH

7. LEMLEY, MATHEWS, and BILBROUGH are members of a white supremacist
organization named “The Base.” Within The Base’s encrypted chat rooms, members have
discussed, among other things, recruitment, creating a white ethno-state, committing acts of
violence against minority communities (including African-Americans and Jewish-Americans), the
organization’s military-style training camps, and ways to make improvised explosive devices.

8. LEMLEY previously served as a Cavalry Scout in the United States Army.

o, MATHEWS is a Canadian citizen unlawfully present in the United States. As of
August 2019, MATHEWS was a combat engineer in the Canadian Army Reserve.

Facts Establishing Probable Cause

10. On or about August 19, 2019, MATHEWS unlawfully crossed from Canada into
the United States near the Manitoba/Minnesota border. Shortly thereafter, LEMLEY and
BILBROUGH learned that MATHEWS had unlawfully crossed the border, and conspired to
transport and harbor MATHEWS in order to conceal MATHEWS’s unlawful presence in the
United States.

11. Based on my review of Google location data, cell phone location data, and recorded

telephone calls, I know that on August 30, 2019, LEMLEY and BILBROUGH traveled by
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vehicle from Maryland to Michigan (roughly 600 miles) in order to pick up MATHEWS.
LEMLEY and BILBROUGH remained in the Michigan area for approximately two hours, after
which all three returned to Maryland on August 31, 2019.

12. On or about November 3, 2019, using LEMLEY’s vehicle, BILBROUGH drove
LEMLEY and MATHEWS from Virginia, on the Maryland-side of the Capital Beltway, and over
the Chesapeake Bay Bridge. After BILBROUGH exited the vehicle at his Maryland residence,
LEMLEY and MATHEWS travelled in the vehicle to the area of Elkton, Maryland, where
LEMLEY obtained a motel room minutes from LEMLEY’s then-residence for MATHEWS to
spend the night.

13. On or about November 4, 2019, LEMLEY drove MATHEWS to Delaware, where
LEMLEY rented an apartment. LEMLEY and MATHEWS have resided in that apartment since
that date.

14. On November 28, 2019, LEMLEY placed an order for an upper receiver for a long
gun. The upper receiver was shipped on or about November 30, 2019, to a location in Maryland
associated with LEMLEY.

15, During December 2019, LEMLEY and MATHEWS used the upper receiver and
other firearm parts to make a functioning assault rifle.

16. On December 21, 2019, BILBROUGH arrived at the Delaware residence of
LEMLEY and MATHEWS. Throughout the evening and into the early morning hours of
December 22, 2019, MATHEWS, LEMLEY, and BILBROUGH discussed the manufacture of
DMT, a Schedule I Controlled Substance, and attempted to actually manufacture DMT.
Furthermore, MATHEWS, LEMLEY, and BILBROUGH discussed The Base’s activities and

spoke about other members of the organization. MATHEWS also discussed the assault rifle with
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BILBROUGH and handed it to BILBROUGH, after which BILBROUGH handed the assault
rifle back to MATHEWS.

17. On January 1, 2020, at a store in Delaware, LEMLEY and MATHEWS purchased
approximately 150 rounds of 5.56 mm ammunition, as well as paper shooting targets.

18. On January 2, 2020, LEMLEY took the assault rifle from the Delaware residence
to a gun range in Maryland. An FBI agent observed LEMLEY at the gun range, and heard what
appeared to be more than one bullet being fired at a time. When LEMLEY returned to the
Delaware residence, LEMLEY made certain comments to MATHEWS about the assault rifle
firing more than one round at a time. LEMLEY also told MATHEWS, in sum and substance,
that the assault rifle “would have to be cached though because that’s an ATF fucking nightmare,”
and, “Oh oops, it looks like I accidentally made a machine gun.” LEMLEY then stated to
MATHEWS, in sum and substance, “Go ahead and take the lower [receiver] off, give it to me.
I’m gonna stow it until next week, just in case the ATF shows up tomorrow.”, MATHEWS
retorted, “Um, if they show up here, we got other problems.”

19. On January 5, 2020, MATHEWS and LEMLEY went from the Delaware
residence to the same gun range in Maryland that LEMLEY had visited on January 2, 2020. Prior
to the arrival of LEMLEY and MATHEWS, the FBI had set up a stationary camera near the gun
range, and an ATF agent was in the vicinity of the range. On the stationary camera, agents
observed and recorded MATHEWS in possession of a firearm. While MATHEWS appeared to
shoot, LEMLEY appeared to be observing MATHEWS’ s shots through an unattached rifle scope.
While LEMLEY and MATHEWS were observed in firing positions on camera, the ATF agent

heard the report of gun fire.
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20. Onor about January 7, 2020, LEMLEY ordered approximately 1,500 rounds of
5.56 mm and 6.5 mm ammunition.

21. On or about January 11, 2020, LEMLEY drove MATHEWS from the Delaware
residence to the same gun range in Maryland they had visited on January 5, 2020. While at the
range, MATHEWS handled and fired the assault rifle.

Dei When returning to the Delaware residence from the gun range on January 11, 2020,
LEMLEY and MATHEWS stopped by LEMLEY’s prior residence in Maryland, where they
retrieved plate carriers (to support body armor) and at least some of the 1,500 rounds LEMLEY
had ordered days before.

Conclusion

23 Based on the foregoing, I respectfully submit that there is probable cause to issue

the requested criminal complaints and arrest warrants.

Rachid T. Harrison
Special Agent
Federal Bureau of Investigation

 

Sworn to before me this fbn. day of January, 2020.

(Lb Be

Horforable Charles B. Day
United States Magistrate Judge
District of Maryland
